8:10-cr-00158-LSC-SMB   Doc # 419   Filed: 07/12/12    Page 1 of 1 - Page ID # 1061



           IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  8:10CR158
                              )
          v.                  )
                              )
ROSS PRY,                     )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion

to continue scheduling conference (Filing No. 418).                Counsel has

advised someone will attend on his behalf.             Therefore, the Court

finds the motion should be denied.         Accordingly,

           IT IS ORDERED defendant’s motion is denied.               The

scheduling conference remains scheduled for:

                 Tuesday, July 17, 2012, at 1:30 p.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse,

Omaha, Nebraska.    As this is a scheduling conference only,

defendants need not be present.

           DATED this 12th day of July, 2012.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _____________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
